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                                                                            October 20, 2020


VIA ECF & EMAIL
Hon. Laura Taylor Swain
United States District Court
                                                                 MEMO ENDORSED
Southern District of New York
500 Pearl Street
New York, New York 10007

Re: United States v. Claudiu Costinel Mihai, 19 Cr. 651 (LTS)

Dear Judge Swain:

        I represent Claudiu Mihai in the above-referenced case. Mr. Mihai has just entered into a
plea agreement with the Government and seeks to schedule a date for change of plea hearing. I
respectfully request that his change of plea hearing proceed by videoconferencing or telephonic
means.

        As background, Mr. Mihai was extradited to the United States in February 2020 after being
detained in Romania for approximately three months. The unfortunate timing of his extradition
had Mr. Mihai arrive at the Metropolitan Correctional Center (“MCC”) just prior to a full-facility
lockdown after a firearm had been smuggled into the facility. After that lockdown was lifted, it
was only one week later that the facility and, in fact, the nation, was locked down due to the
COVID pandemic. The current conditions of confinement are necessarily more severe and
onerous than normal, but Mr. Mihai has kept busy by reading anything he can get his hands on and
he is thankful to have the two hours outside of his cell each day.

       Mr. Mihai has discussed with counsel his right to be present at his change of plea hearing
and he waives that right and wishes to proceed by videoconference or telephonic means. Mr.
Mihai wishes to accept responsibility and move expeditiously towards sentencing. His focus is
upon putting this chapter of his life behind him and returning to his family and his life in Romania
as quickly as possible.

         We are aware of no prejudice to the Government or the public should the Court grant this
request. However, requiring Mr. Mihai to appear personally could potentially delay the scheduling
of the change of plea hearing and push back a prospective sentencing date that Mr. Mihai wishes
to occur as quickly as possible. In addition, should Mr. Mihai be required to personally appear,
upon return to the MCC, he would be required to quarantine for a minimum of 14 days, a hardship
that is not warranted under the circumstances. In this District, remote proceedings have been the
rule, not the exception during this extraordinary pandemic.
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        Accordingly, pursuant to the Coronavirus Aid, Relief, and Economic Security Act
(“CARES Act”) and the As-Amended Standing Order re Video Teleconferencing and Telephone
Conferencing for Criminal Proceedings, M10-468 (S.D.N.Y. June 24, 2020), it is respectfully
requested that change of plea hearing take place by videoconferencing or telephonic means as soon
as possible.

        Thank you for your consideration of this request.


                                                             Respectfully
                                                                p       y submitted,



                                                             Ken Womble
                                                             Attorney for Claudiu Mihai

Cc: AUSA Elizabeth Hanft (via ECF & Email)


The Court will request a video hearing slot for 11:00 a.m. on Friday November 6, 2020. Counsel are
requested to keep their calendars as open as possible from 9:00 a.m. to 2:00 p.m. that day, as the time, date
and modality cannot be confirmed until late in the preceding week.

SO ORDERED.
10/20/2020
/s/ Laura Taylor Swain, USDJ
